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                                                                         Littler Mendelson P.C.
                                                                         900 Third Avenue
                                                                         New York, NY 10022.3298




                                                                         Andrew M. Spurchise
                                                                         212.583.2684 direct
                                                                         212.583.9600 main
                                                                         212.832.2719 fax
                                                                         aspurchise@littler.com


June 13, 2022



Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:       Golightly v. Uber Technologies, et al., 21-cv-03005-LJL

Dear Judge Liman:

         This firm represents Defendant Uber Technologies, Inc. (“Uber”) in the above-referenced matter.
Uber writes in response to this Court’s June 6, 2022 text order (ECF No. 47) inviting the parties to submit
letter briefs to address the impact (if any) on Uber’s pending motion to compel arbitration of the Supreme
Court's decision in Southwest Airlines Co. v. Saxon, No. 21-309 (U.S. June 6, 2022) (“Saxon”).

        Saxon does not change the proper outcome with respect to the issue before this Court: rideshare
drivers using Uber’s Driver App do not fit within the narrow exemption in Section 1 of the Federal
Arbitration Act (“FAA”) for certain transportation workers “engaged in…interstate commerce.”

         Saxon involved a Southwest Airlines employee who frequently loaded and unloaded cargo on and
off airplanes traveling across the country and the world. The Supreme Court held that the Section 1
exemption applied to such workers, finding that cargo loaders are “intimately involved” with Southwest’s
interstate transportation of cargo and that the interstate journey “is still in progress” when the worker is
loading or unloading cargo on or off an airplane carrying that cargo. Saxon, slip op. at 6.

         As numerous courts have held, rideshare drivers do not share these same features. Rather, “Uber
drivers are unaffiliated, independent participants in the passenger’s overall trip, rather than an integral
part of a single, unbroken stream of interstate commerce[.]” Capriole v. Uber Techs., Inc., 7 F.4th 854, 867
(9th Cir. 2021); see also, e.g., Davarci v. Uber Techs., Inc., 2021 WL 3721374, at *14 (S.D.N.Y. Aug. 20,
2021) (“[T]he fact that airports allow passengers to hail an Uber from ‘within airport boundaries’ does not
transform Uber drivers from local transportation providers to part of the continuous flow of interstate
commerce.”); Rogers v. Lyft, Inc., 452 F. Supp. 3d 904, 917 (N.D. Cal. 2020) (rideshare drivers not exempt
under Section 1 because “relationship to interstate transit is only casual and incidental” without the
“requisite ‘practical and economic continuity’ with interstate air or rail transportation”); Osvatics v. Lyft,
Inc., 2021 WL 1601114, at *15 (D.D.C. Apr. 22, 2021) (Lyft drivers as a class are not “engaged in …interstate
commerce” within the meaning of section 1 of the FAA, because no “established link between such



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intrastate rideshare trips and the channels of commerce that are designed to facilitate passengers’
interstate journeys.”).

         Indeed, the Saxon Court specifically declined to address whether workers “further removed” from
the channels of interstate commerce are exempt under Section 1. The Court cited as an example the food
delivery drivers in Wallace v. Grubhub, 970 F.3d 798, 803 (7th Cir. 2020), workers providing local
transportation services much more akin to rideshare drivers than to the cargo loaders in Saxon. Saxon,
slip op. at fn. 2.

       If anything, Saxon supports the conclusion that rideshare drivers like Plaintiff are not exempt from
the FAA.

         First, Saxon confirms the Court must reject Plaintiff’s request to interpret the Section 1 exemption
expansively and ignore the Supreme Court’s prior precedent, Circuit City Stores, Inc. v. Adams, 532 U.S.
105 (2001). (Dkt. 44 at 10-15.) Saxon expressly reaffirmed the principles laid out in Circuit City for defining
the Section 1 exemption. Saxon, slip op. at 5-6. The Saxon Court confirmed that the Section 1 exemption
is narrow and requires that the class of worker in question pay a “direct and necessary role in the free
flow of goods across borders.” Id. at 6 (quotations omitted; emphasis added). The Court continued that
the workers “must be actively engaged in transportation of those goods across borders via the channels
of foreign or interstate commerce.” Id. (quotations omitted).

          Second, Saxon confirms that what matters for determining the application of the exemption is
“the actual work that the members of the class, as a whole, typically carry out.” Saxon, slip op. at 4
(emphasis added). The evidence in this case establishes conclusively that, as a class, rideshare drivers
using Uber’s Driver App rarely—not typically—engage in transportation across borders. “As almost any
user of Uber’s product would attest, Uber trips are often short and local, and they only infrequently
involve either crossing state lines or a trip to a transportation hub, as the evidence demonstrates.”
Capriole, 7 F.4th at 865; (Dkt. 43 at 8) (“From 2018 through 2021, the percentage of nationwide Uber trips
that were interstate in nature ranged from 2.1% to 2.5%. … The percentage of total trips that were to or
from airports were only slightly higher, and ranged between 7.3% and 10.1% of all trips[.] Finally, trips to
a series of New York City ‘transit hubs’ for which Plaintiff requested data ranged from 0.49% to 0.63% of
all trips taken in the NYC Metro Area.”).

         Third, the Saxon Court’s heavy emphasis on a worker’s role in the free flow of goods suggests
that—as Uber has argued (Dkt. 22-1, Section III.B.3)—the transportation worker exemption is limited to
workers involved in the movement of goods, rather than passengers. Saxon, slip op. at 6 (any worker
exempt from the FAA “must at least play a direct and necessary role in the free flow of goods across
borders”) (quotations omitted). See Kowaleski v. Samandarov, 590 F. Supp. 2d 477, 484 (S.D.N.Y. 2008)
(black car drivers not exempt under Section 1 because they did not move “physical goods” – an
“indispensable element to being engaged in commerce in the same way that seamen and railroad workers
are.”) (quotations omitted).




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         In sum, to the extent any conclusion relevant to the issue before the Court can be drawn from
Saxon, it is that—as determined by the overwhelming majority of courts including the Ninth and First
Circuits—rideshare drivers like Plaintiff are not exempt from the FAA. Capriole, supra; Cunningham v. Lyft,
Inc., 17 F.4th 244, 250 (1st Cir. 2021); see also, e.g., Davarci v. Uber Techs., Inc., 2021 WL 3721374 (S.D.N.Y.
2021). Uber’s motion to compel arbitration must therefore be granted, and Plaintiff’s arbitration
agreement with Uber enforced.

Respectfully submitted,



Andrew M. Spurchise
Shareholder

AMS




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